                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DAVID LINNINS, KIM WOLFINGTON,             )
and CAROL BLACKSTOCK, on behalf            )
of themselves and all others similarly     )
situated,                                  )
                  Plaintiffs,              )
                                           )
      v.                                   )                1:16CV486
                                           )
HAECO AMERICAS, INC. (f/k/a                )
TIMCO AVIATION SERVICES,                   )
INC.),                                     )
               Defendant.                  )

                                    JUDGMENT

      This Court having entered the Final Approval Order on June 1, 2018 and the

Attorneys’ Fees Order on October 26, 2018, IT IS HEREBY ADJUDGED that this

action is DISMISSED WITH PREJUDICE.

      This, the 26th of October 2018.

                                               /s/ N. Carlton Tilley, Jr.
                                         Senior United States District Judge




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